    Case 3:95-cr-03039-RV-MD       Document 362      Filed 11/16/06    Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AM ERICA

             v.                               Case No. 3:9 5cr3039/RV

WENDELL CRAWFORD
_______________________________/

                                       ORDER

      Upon consideration of the defendant’ s response and affidavit filed herein (doc.
361), I find there w as excusable neglect, and I ext end the time for filing by 30 days
in accordance w ith Rule 4(b) and 4 (c), Federal Rules of Appellate Procedure.
      DONE AND ORDERED this 16th day of November, 2006.



                                 /s/ Roger Vinson
                                 ROGER VINSON
                                 Senior United States District Judge
